      Case: 1:17-cv-09208 Document #: 10 Filed: 02/26/18 Page 1 of 3 PageID #:52




                        `IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Kathleen Ragan, an individual,

                     Plaintiff,

         v.                                           Case No. 1:17-cv-09208

BP Products North America, Inc., a Maryland           Honorable Marvin E. Aspen
corporation; BP America, Inc., a Delaware
corporation,

                     Defendants.

               and

BP Products North America Inc. and BP
America Inc.

                  Counter-Plaintiffs,

v.

Kathleen Ragan

                  Counter-Defendant.



                              NOTIFICATION AS TO AFFILIATES

         Pursuant to Federal Rule of Civil Procedure 7.1 and Northern District of Illinois Local

Rule 3.2, Defendants/Counter-Plaintiffs BP Products North America Inc. (incorrectly named in

Plaintiff’s Complaint as BP Products North America, Inc.) and BP America Inc. (incorrectly

named in Plaintiff’s Complaint as BP America, Inc.) state as follows:

         The parent companies of BP Products North America Inc. are The Standard Oil

Company, BP Company North America Inc., BP Corporation North America Inc., BP America

Inc., BP America Limited, BP Holdings North America Limited, and BP p.l.c. BP p.l.c. is an


44615345v.1
      Case: 1:17-cv-09208 Document #: 10 Filed: 02/26/18 Page 2 of 3 PageID #:53




entity whose shares or share equivalents are traded on public stock exchanges. No other publicly

traded entity owns more than 5% of the stock of BP Products North America Inc.

         BP America Inc. is wholly-owned by a BP subsidiary which is wholly owned by BP p.l.c.

No other publicly traded entity owns more than 5% of the shares of BP America Inc.




DATED: February 26, 2018                           Respectfully submitted,

                                                   BP Products North America, Inc. and BP
                                                   America, Inc.



                                                   By: s/ Katherine Mendez
                                                      One of Its Attorneys

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                                               2
44615345v.1
      Case: 1:17-cv-09208 Document #: 10 Filed: 02/26/18 Page 3 of 3 PageID #:54




                                 CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on February 26, 2018, she caused a true

and correct copy of the foregoing document to be presented to the Clerk of the Court for filing

and uploading to the CM/ECF system, which will send notification of such filing to all attorneys

of record in this matter.


                                               s/ Katherine Mendez
                                                     Katherine Mendez




44615345v.1
